Case 3:19-cv-17310-BRM-LHG Document 40 Filed 03/08/21 Page 1 of 1 PageID: 436

                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

           CHAMBERS OF                                          CLARKSON S. FISHER U.S. COURTHOUSE
       LOIS H. GOODMAN                                                402 EAST STATE STREET
 UNITED STATES MAGISTRATE JUDGE                                              ROOM 7050
                                                                         TRENTON, NJ 08608
                                                                            609-989-2114



                                                                     March 8, 2021

                                        LETTER ORDER
       Re:     RUTH T. MCLEAN v. 800 DC LLC, et al.,
               Civil Action No. 19-17310 (BRM) (LHG)

Dear Counsel and Pro Se Party:

       Before the Court is Plaintiff’s Motion to Redact and seal Transcript/Digital Recording.
[Docket Entry No. 39]. The Motion first requests that the Court redact the transcripts of
hearings held before the Honorable Brian R. Martinotti, U.S.D.J., on October 16, 2019 and
January 7, 2020 under “Fed. R. Civ. P. 5.2(a) (personal identifiers).” Id. The Motion also
requests that the Court redact and seal the transcripts “pursuant to L.Civ. R. 5.3(g).” No
opposition was filed.
        With respect to the Plaintiff’s first request, the Court notes that Fed. R. Civ. P. 5.2(a)
protects only limited categories of personal information, specifically, social security numbers,
tax-dentification numbers, birth dates, names of minors, and financial-account numbers.
Plaintiff’s request points to no such protectible information in the transcripts, nor was the Court
able to find any after its own careful review. Accordingly, this portion of Plaintiff’s request is
DENIED.
        Plaintiff’s parallel request under Local Rule 5.3(g) fares no better. As a preliminary
matter, Plaintiff’s request is procedurally defective. Under Rule 5.3(g), a party requesting to
redact and seal a transcript is required to file a motion that complies with Local Rule 5.3(c),
which includes various procedural and substantive requirements that a party must meet for the
Court to properly consider the merits of the request. See L. Civ. R. Civ. 5.3(c)(1), (3).
Plaintiff’s one-page motion does not meet any of the elements under Rule 5.3(c). Given that
Plaintiff is pro se, the Court might be inclined to relax the procedural requirements, but
Plaintiff’s request is also devoid of substance. Rule 5.3 provides a mechanism by which parties
may seek to protect from public view information that they contend is confidential. Here,
Plaintiff identifies no information from the transcript that she deems confidential or the reasons
she believes it to be so. Moreover, on its own review, the Court could find no confidential
information that Plaintiff might appropriately be seeking to protect under Rule 5.3.
Accordingly, this portion of Plaintiff’s request is also DENIED.




                                                      LOIS H. GOODMAN
                                                      United States Magistrate Judge
